          Case 1:22-cr-00027-TSC Document 10 Filed 01/20/22 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :   CRIMINAL NO.
                                                  :
             v.                                   :
                                                  :   MAGISTRATE NO. 1:21-MJ-650
 TYLER JOHN TEW,                                  :
                                                  :   VIOLATIONS:
                    Defendant.                    :   18 U.S.C. § 1752(a)(1)
                                                  :   (Entering and Remaining in a Restricted
                                                  :   Building or Grounds)
                                                  :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building or Grounds)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Disorderly Conduct in
                                                  :   a Capitol Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)

                                       INFORMATION

       The United States Attorney charges that:


                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, TYLER JOHN TEW did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

off, and otherwise restricted area within the United States Capitol and its grounds, where the

Vice President was temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
          Case 1:22-cr-00027-TSC Document 10 Filed 01/20/22 Page 2 of 3




                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, TYLER JOHN TEW did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President was

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))


                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, TYLER JOHN TEW willfully

and knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with

the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either

House of Congress, and the orderly conduct in that building of a hearing before or any deliberation

of, a committee of Congress or either House of Congress.


       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




                                                2
         Case 1:22-cr-00027-TSC Document 10 Filed 01/20/22 Page 3 of 3




                                       COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, TYLER JOHN TEW willfully

and knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))




                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           DC Bar No. 481052


                                    By:    /s/ April Ayers-Perez
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                                              3
